                               Case 18-20421         Doc 26      Filed 08/22/18       Page 1 of 1

                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                      In re:    Case No.: 18−20421 − MMH           Chapter: 7

Jamiu Lawal
Debtor


                                               DEFICIENCY NOTICE
DOCUMENT:                  19 − Amendment to List of Creditors.. Filed by Chidiebere Onukwugha. (Attachments: # 1
                           verification of creditor matrix) (Onukwugha, Chidiebere)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 9/5/18.

                           1. Certificate of Service with service of (Notice of Meeting Of Creditors) not provided.

                           2. Amended Creditor's Matrix Filing Fee not provided.

CURE:                      A Certificate of Service on the above pleading must be filed. (Local Bankruptcy Rule 7005−2).
                           Include the names and addresses of all parties served or attach a copy of the mailing matrix.

                           The filing fee of $31 for Amended Matrix/Schedule must be paid.
                           (28 U.S.C. §1930)

                           Any filing fee may be paid in cash, by money order or certified check, payable to Clerk, U.S.
                           Bankruptcy Court. Submit the payment by mail with a copy of this notice enclosed or in person
                           at one of the following locations:

                                U.S. Bankruptcy Court                       U.S. Bankruptcy Court
                                Garmatz Federal Courthouse                  U.S. Courthouse
                                101 W. Lombard Street, Suite 8530           6500 Cherrywood Lane, Suite 300
                                Baltimore, MD 21201                         Greenbelt, MD 20770

                           For attorneys/trustees: Login to CM/ECF. If you see the fee due on the first screen or under
                           Utilities, Internet Payment, select it and proceed with payment. If the fee is not shown on those
                           screens, click Bankruptcy/Adversary, Miscellaneous, and then the appropriate "Filing Fee"
                           event. Select the document for which the fee was originally due. Accept the displayed fee
                           amount, or enter the amount you are paying. Proceed with payment.


CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.

Sample Certificate of Service: http://www.mdb.uscourts.gov/sites/default/files/FORMS−COS.pdf.
Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 8/22/18
                                                                  Mark A. Neal, Clerk of Court
                                                                  by Deputy Clerk, Calton Brown
                                                                  (301) 344−0407
cc:    Debtor
       Attorney for Debtor − Chidiebere Onukwugha

defntc (rev. 12/12/2016)
